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   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                               Office of the Clerk
        United States Courthouse
                                                                              Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                              www.ca7.uscourts.gov
          Chicago, Illinois 60604




May 7, 2024

By the Court:

                                     LQD BUSINESS FINANCE, LLC,
                                              Plaintiff - Appellant

                                     v.
No. 23-2356

                                     AZIZUDDIN ROSE, an individual and AKF, INC, doing business
                                     as FUNDKITE, et al.,
                                              Defendants - Appellees
Originating Case Information:
District Court No: 1:19-cv-04416
Northern District of Illinois, Eastern Division
District Judge Matthew F. Kennelly


Upon consideration of the MOTION TO VOLUNTARILY WITHDRAW THE
APPEAL, filed on May 6, 2024, by counsel for the appellant,

IT IS ORDERED that this case is DISMISSED, pursuant to Federal Rule of Appellate
Procedure 42(b).


form name: c7_FinalOrderWMandate          (form ID: 137)
